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UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK

                                                               )
In re:                                                         ) Chapter 11
                                                               )
THE ROMAN CATHOLIC DIOCESE OF                                  ) Case No. 20-12345 (MG)
ROCKVILLE CENTRE, NEW YORK,                                    )
                                                               )
                                   Debtor. 1                   )
                                                               )

                                      CERTIFICATE OF SERVICE

    STATE OF CALIFORNIA                       )
                                              )
    COUNTY OF LOS ANGELES                     )


         I, Janice G. Washington, am over the age of eighteen years, am employed by Pachulski

Stang Ziehl & Jones LLP. I am not a party to the within action; my business address is 10100

Santa Monica Blvd., Suite 1300, Los Angeles, CA 90067.

         On February 2, 2024, I caused a true and correct copy of the following document to be

served via the Court’s ECF system.

         On February 2, 2024, I caused a true and correct copy of the following document to be

served via electronic mail upon the parties set forth on the service list annexed hereto as Exhibit

A.

         On February 2, 2024, I also caused a true and correct copy of the following document to

be served via First Class US Mail upon the parties set forth on the service list annexed hereto as

Exhibit B:




1
 The Debtor in this chapter 11 case is The Roman Catholic Diocese of Rockville Centre, New York, the last for digits
of its federal tax identification number are 7437, and its mailing address is 50 North Park Avenue, P.O. Box 9023,
Rockville Centre, NY 11571-9023.

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    •    Further Objection Of The Official Committee Of Unsecured Creditors To Debtors Motion

         (A) For An Order (I) Approving Disclosure Statement, (II) Approving Form And Manner

         Of Service Of Disclosure Statement Notice, (III) Establishing Procedures For Solicitation

         And Tabulation Of Votes To Accept Or Reject Plan Of Reorganization, (IV) Approving

         Related Notice Procedures, And (V) Scheduling Hearing On Confirmation Of Plan Of

         Reorganization, Or (B) In The Alternative, Dismissing The Debtors Chapter 11 Case

         [Related Docket Nos. 2855, 2856 and 2858].

         I declare under penalty of perjury, under the laws of the State of California and the United

States of America that the foregoing is true and correct.

Dated: February 2, 2024



                                                      /s/ Janice G. Washington
                                                         Janice G. Washington




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                                          EXHIBIT A

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                                            EXHIBIT B

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